
COBB, Judge,
concurring in part and dissenting in part.
I concur in affirming the appellant’s conviction; however, I would reverse his sentence and remand the case for resen-tencing in accordance with Judge Shaw’s special writing in Poole v. State, [Ms. CR-99-1200, August 31, 2001] — So.2d-, - (Ala.Crim.App.2001), with which I concurred as to this issue. As to those points on which I disagree with Judge Shaw, see my special writing in Poole, — So.2d at-. I believe that these sentence enhancements must be charged in the indictment and proved to the jury beyond a reasonable doubt, and that the failure to do so is a jurisdictional defect that this Court should notice and remedy on appeal. Therefore, as to the sentencing issue, I dissent.
